              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:12-cv-00178-MR
            [CRIMINAL CASE NO. 1:05-cr-00023-MR-DLH-5]


DEBORAH REID HENDRIX,            )
                                 )
              Petitioner,        )
                                 )
     vs.                         )              MEMORANDUM OF
                                 )              DECISION AND ORDER
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence under 28 U.S.C. § 2255 [Doc. 1] and the

Government’s Response [Doc. 7]. For the reasons that follow, Petitioner’s

motion to vacate will be granted in part and the Petitioner shall be

resentenced without application of the statutory mandatory minimum of 240

months.

I.     BACKGROUND

        On February 28, 2005, the Petitioner was indicted by the Grand Jury

for the Western District of North Carolina and charged, along with fifteen co-

defendants, with conspiracy to manufacture and possess with intent to

distribute over 1.5 kilograms of methamphetamine, in violation of 21 U.S.C.




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§§ 846 and 841.      [Criminal Case No. 1:05-cr-00023-5 (“CR”), Doc. 3:

Indictment].    On March 22, 2005, the Government filed an Information

pursuant to 21 U.S.C. § 851 notifying Petitioner that it would seek enhanced

penalties based on Petitioner’s 2003 North Carolina state conviction for

possession of a Schedule II controlled substance. [CR Doc. 38: Information].

For that state conviction, the Petitioner received a sentence of four to five

months of imprisonment, suspended, along with eighteen months of

supervised probation. [CR Doc. 362: Presentence Report (“PSR”) at ¶ 34].

Petitioner’s term of probation was extended for a period of six months due to

violations. [Id.].

      On April 18, 2005, the Petitioner pled guilty to the conspiracy charge

pursuant to a written plea agreement with the Government. In the plea

agreement, the parties stipulated that the amount of methamphetamine

known or reasonably foreseeable to Petitioner was at least 50 grams but less

than 150 grams. [CR Doc. 56: Plea Agreement ¶ 6(a)]. As part of the plea

agreement, the Petitioner agreed to waive her right to appeal or to seek post-

conviction relief, with the exception of claims of ineffective assistance of

counsel or prosecutorial misconduct. [Id. at ¶ 19].

      Prior to sentencing, the probation officer prepared a presentence

report (PSR), in which the probation officer calculated a total offense level of
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35 and a criminal history category of II, resulting in an advisory Guidelines

range of 188 to 235 months’ imprisonment. [CR Doc. 362: PSR at ¶¶ 31, 38,

55]. Because of the § 851 notice, however, the probation officer noted that

Petitioner faced a statutory mandatory minimum of 240 months. [Id. at ¶ 55].

     Prior to Petitioner’s sentencing hearing, the Government filed a motion

for downward departure pursuant to U.S.S.G. § 5K1.1 and 18 U.S.C. §

3553(e) based on Petitioner’s substantial assistance. [CR Doc. 195]. On

February 9, 2006, the Petitioner appeared before the Honorable Lacy H.

Thornburg, United States District Judge, for a sentencing hearing. The Court

granted the Government’s motion for a downward departure and sentenced

the Petitioner to a term of 200 months in prison. [CR Doc. 220]. The

Petitioner filed an appeal, but it was voluntarily dismissed on August 17,

2006. United States v. Hendrix, No. 06-4193 (4th Cir. Aug. 17, 2006).

     The Petitioner filed the present motion to vacate, at the earliest, on July

4, 2012. [Doc. 1]. In her motion, the Petitioner contends that she received

ineffective assistance of counsel and that, based on United States v.

Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc), her sentence was

improperly enhanced. [Id.]. The Government has responded to Petitioner’s

motion, agreeing that Petitioner is entitled to be resentenced without

application of the statutory mandatory minimum of 240 months. [Doc. 7].
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II.      STANDARD OF REVIEW

         Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions to

vacate, along with “any attached exhibits and the record of prior proceedings”

in order to determine whether a petitioner is entitled to any relief. The Court

has considered the record in this matter and applicable authority and

concludes that this matter can be resolved without an evidentiary hearing.

See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         Under the Antiterrorism and Effective Death Penalty Act (“AEDPA”),

there is a one-year statute of limitations for filing a motion for collateral relief.

Section 2255(f) provides:

              (f)   A 1-year period of limitation shall apply to a
              motion under this section. The limitation period shall
              run from the latest of—

              (1) the date on which the judgment of conviction
              becomes final;

              (2) the date on which the impediment to making a
              motion created by governmental action in violation of
              the Constitution or laws of the United States is
              removed, if the movant was prevented from making
              a motion by such governmental action;

              (3) the date on which the right asserted was initially
              recognized by the Supreme Court, if that right has
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            been newly recognized by the Supreme Court and
            made retroactively applicable to cases on collateral
            review; or

            (4) the date on which the facts supporting the claim
            or claims presented could have been discovered
            through the exercise of due diligence.

28 U.S.C. § 2255(f)(1)-(4).

      Petitioner’s motion to vacate was filed more than one year after her

judgment became final, and therefore, her motion is not timely under §

2255(f)(1). She has not alleged any government-created impediment to the

filing of her motion, thereby rendering § 2255(f)(2) inapplicable. Moreover,

the “right asserted” by Petitioner emanates from the Fourth Circuit’s decision

in Simmons, not a Supreme Court decision; as such, § 2255(f)(3) is not

applicable. Finally, Petitioner’s motion to vacate is not based upon any newly

discovered facts which render her motion timely under § 2255(f)(4). Despite

the motion’s untimeliness, the Government in its May 19, 2015, filing has

agreed to waive the one-year statute of limitations in the interests of justice,

a decision which the Court may not override. See Wood v. Milyard, 132 S.

Ct. 1826, 1834-35 (2012). Accordingly, the Court will proceed to consider

the merits of Petitioner’s claim.

      Section 841(b)(1) provides for enhanced sentences based on any prior

conviction for a “felony drug offense.” 21 U.S.C. § 841(b)(1). An offense
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qualifies as a “felony drug offense” for purposes of § 841(b)(1) if it is

punishable by more than one year in prison. In Simmons, the Fourth Circuit

held that this threshold is met only if that particular defendant could have

received a sentence of more than one year in prison. In so holding, the

Fourth Circuit overruled its earlier decisions in United States v. Jones, 195

F.3d 205 (4th Cir. 1999), and United States v. Harp, 406 F.3d 242 (4th Cir.

2005), in which the Fourth Circuit had held that an offense is punishable by

more than one year in prison as long as any defendant could receive a term

of imprisonment of more than one year upon conviction for that offense. See

Simmons, 649 F.3d at 247.

     In the present case, the Court enhanced Petitioner’s sentence based

on her prior conviction for possession of a Schedule II controlled substance.

The parties agree that Petitioner could not have received a sentence of more

than one year in prison for this conviction under North Carolina law.

Therefore, although Jones and Harp were still good law at the time this Court

sentenced Petitioner, Simmons has made clear that Petitioner’s prior

conviction was not a “felony drug offense” for purposes of 21 U.S.C. §

841(b)(1), because it was not punishable by more than one year in prison.

     Because the application of the mandatory minimum deprived the Court

of discretion and because the Court may well have sentenced Petitioner to
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a sentence below 200 months without application of that mandatory

minimum, the Court concludes that Petitioner is entitled to a new sentencing

hearing. See Hicks v. Oklahoma, 447 U.S. 343, 346 (1980).

        Based on the foregoing, the Court will grant Petitioner’s motion to

vacate in part so as to allow Petitioner to be resentenced without application

of the 240-month mandatory minimum.

IV.     CONCLUSION

        For the foregoing reasons, Petitioner’s § 2255 motion is granted in part

and denied in part.

        Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. §

2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to

satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would

find the district court’s assessment of the constitutional claims debatable or

wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding that when relief

is denied on procedural grounds, a petitioner must establish both that the

correctness of the dispositive procedural ruling is debatable, and that the

petition states a debatably valid claim of the denial of a constitutional right).


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                                   ORDER

      IT IS, THEREFORE, ORDERED that:

      1.    Petitioner’s Motion to Vacate [Doc. 1] is GRANTED IN PART and

her sentence is VACATED for the reasons stated herein. All remaining

provisions of Petitioner’s Judgment [Criminal Case No. 1:05-cr-00032-MR-

DLH-5, Doc. 220] shall remain in full force and effect;

      2.    In all other respects, Petitioner’s Motion to Vacate [Doc. 1] is

DENIED and DISMISSED;

      3.    Petitioner shall remain in the custody of the Federal Bureau of

Prisons and/or the United States Marshals Service pending her resentencing

hearing; and

      4.    Pursuant to Rule 11(a) of the Rules Governing Section 2255

Cases, the Court declines to issue a certificate of appealability.

      The Clerk of Court is directed to certify copies of this Order to the

United States Bureau of Prisons, the United States Marshals Service, and

the United States Probation Office. The Clerk of Court is further directed to

close this civil case.
                                    Signed: May 26, 2015
      IT IS SO ORDERED.




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